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 5
                                  UNITED STATES DISTRICT COURT
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                                        DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,         )
 9                                     )
                                       )
10                   Plaintiff,        )                 2:15-cr-00286-LDG-VCF-4
               vs.                     )
11                                     )
   RONALD DEFUSCO,                     )
12                                     )
                     Defendant.        )                 AMENDED ORDER
13 ____________________________________)
14
                   On May 4, 2017, this Court granted the Motion to Withdraw as Attorney of record
15
     (doc. 119).
16
                   Accordingly, IT IS HEREBY ORDERED that Kathleen Bliss, is APPOINTED as
17
     counsel for Ronald Defusco in place of Mark B. Bailus’s Office for all future proceedings.
18
                   Mark B. Bailus’s office shall forward the file to Ms. Bliss forthwith.
19
20                 DATED this 9th        day of June, 2017.
                   Nunc Pro Tunc: May 2, 2017.
21
22
23
                                                         ___________________________________
24                                                       THE HONORABLE CAM FERENBACH
                                                         UNITED STATES MAGISTRATE JUDGE
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